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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Manetirony Clervrain,                        )
                                             )
               Plaintiff,                    )       ORDER ADOPTING REPORT
                                             )       AND RECOMMENDATION
       vs.                                   )
                                             )       Case No. 1:22-cv-076
John Hoeven, et al.,                         )
                                             )
               Defendants.                   )

       The Plaintiff initiated this matter pro se and in forma pauperis on April 12, 2022. See Doc.

No. 1. After screening the complaint pursuant to 28 U.S.C. § 1915(e)(2), Magistrate Judge Clare

R. Hochhalter issued a Report and Recommendation on June 3, 2022, in which he recommended that

Clervain’s complaint be dismissed. See Doc. No. 5. Clervain was given until June 21, 2022, to file

an objection to the Report and Recommendation. No objection was filed.

       The Court has carefully reviewed the Report and Recommendation, relevant case law, and

the entire record, and finds the Report and Recommendation to be persuasive. Accordingly, the

Court ADOPTS the Report and Recommendation (Doc. No. 5) in its entirety. Clervain’s application

to proceed in forma pauperis (Doc. No. 1) is DENIED and the complaint is DISMISSED. The

Court further FINDS that any appeal would be frivolous, could not be taken in good faith, and may

not be taken in forma pauperis.

       IT IS SO ORDERED.

       Dated this 24th day of June, 2022.

                                                     /s/ Daniel L. Hovland
                                                     Daniel L. Hovland, District Judge
                                                     United States District Court
